         Case 1:18-md-02865-LAK           Document 70        Filed 01/31/19     Page 1 of 6




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 In re

 CUSTOMS AND TAX ADMINISTRATION OF
 THE KINGDOM OF DENMARK (SKAT) TAX
 REFUND LITIGATION                                           18-MD-2865 (LAK)

 This document relates to: 18-cv-10119 (LAK)                 ECF Case
                           18-cv-10122 (LAK)
                           18-cv-10123 (LAK)
                           18-cv-10124 (LAK)
                           18-cv-10125 (LAK)
                           18-cv-10126 (LAK)
                           18-cv-10133 (LAK)
                           18-cv-10134 (LAK)
                           18-cv-10135 (LAK)
                           18-cv-10136 (LAK)



                          RESPONSE TO ORDER TO SHOW CAUSE

         Defendants in the cases enumerated in the above caption (“Defendants”), through the

undersigned counsel, hereby respectfully respond to the Court’s Order to Show Cause dated

January 10, 2019 [ECF Dk. # 63]. For the reasons set forth below, the Defendants respectfully

aver that the Court’s memorandum opinion, dated January 9, 2019 [ECF Dk. # 62], should not

govern their cases in part, as the Plaintiff SKAT failed to plead plausible claims of aiding and

abetting fraud upon which relief may be granted.

         “When related cases filed in various federal districts have been consolidated for pretrial

purposes before one court under 28 U.S.C. § 1407(a), ‘under the rule of Van Dusen v. Barrack,

376 U.S. 612, 84 S. Ct. 805, 11 L.Ed.2d 945 (1964), a transferee court applies the substantive

state law, including choice-of-law rules, of the jurisdiction in which the action was filed.’” De

George v. American Airlines, Inc., 2009 WL 1868016, *16 (2d Cir. June 30, 2009) (citing


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        Case 1:18-md-02865-LAK                  Document 70           Filed 01/31/19          Page 2 of 6




Menowitz v. Brown, 991 F. 2d 36, 40 (2d Cir. 1993)). Both jurisdictions where the Complaints

for the cases enumerated in the caption above were initially filed by Plaintiff SKAT, namely

Ohio and Texas, do not recognize the cause of action for aiding and abetting fraud. Accordingly,

Defendants respectfully request that this Court dismiss the claims of aiding and abetting fraud

with prejudice against all Defendants.

         I.       OHIO DOES NOT RECOGNIZE A CAUSE OF ACTION FOR AIDING
                  AND ABETTING FRAUD.

         In May 2018, SKAT filed four complaints in the U.S. District Court for the Southern

District of Ohio against U.S. pension plan investors (The Bella Consultants Pension Plan, The

Sinclair Pension Plan, The Mueller Investments Pension Plan, and The Green Group Site

Pension Plan) and the plans’ Authorized Representative, Roger Lehman (the “Ohio Complaints”

when referring to the complaints, and the “Ohio Defendants” when referring to the Defendants).1

The Ohio Complaints, identical in their allegations and nearly identical in their purported facts to

the complaints filed in the U.S. District Court or the Southern District of New York, each

asserted a cause of action of aiding and abetting fraud against each of the Ohio Defendants.2 On

August 30, 2018, the Ohio Defendants moved to dismiss the Ohio Complaints on various

grounds, including SKAT’s failure to plead a plausible claim of aiding and abetting upon which

relief may be granted.3


         In response to the Court’s Order to Show Cause, the Ohio Defendants maintain that for

the following reasons the cause of action for aiding and abetting fraud should be dismissed



1
  The Ohio Complaints, as originally filed, are attached as Exhibits 1 through 4 to the Declaration of Mark D. Allison.
2
  See Ohio Complaints (The Bella Consultants Pension Plan Complaint at ¶¶ 55-61, The Mueller Investments Pension
Plan Complaint at ¶¶ 55-61, The Green Group Site Pension Plan Complaint at ¶¶ 55-61, and The Sinclair Pension
Plan at ¶¶ 57-63).
3
  See Consolidated Defendants’ Motion To Dismiss the Complaints, SKAT v. The Bella Consultants Pension Plan, et.
al., Dk. No. 1:18-cv-00309-MRB (S.D. Ohio) [ECF Dk. # 21].


                                                          2
       Case 1:18-md-02865-LAK           Document 70        Filed 01/31/19      Page 3 of 6




against all the Ohio Defendants. The Ohio Supreme Court has made clear that claims for aiding

and abetting a fraud are not viable under Ohio law. DeVries Dairy, L.L.C. v. White Eagle Coop.

Assn., Inc., 2012–Ohio–3828, 132 Ohio St. 3d 516, 974 N.E.2d 1194, 1194 (Ohio 2012) (Ohio

“has never recognized a claim under 4 Restatement 2d of Torts, Section 876 (1979), and we

decline to do so under the circumstances of this case.”). Subsequently, Ohio courts have

consistently concluded that “Ohio does not recognize a cause of action for aiding and abetting a

tortious act.” See e.g., Wells Fargo v. Smith, 2013–Ohio–855 at ¶ 36, 2013 WL 938069 (Ohio Ct.

App. Mar. 11, 2013) (finding no error in the trial court’s grant of summary judgment on aiding

and abetting fraud claim, because such a cause of action is unrecognized). Moreover, “Federal

Courts in Ohio, including the Sixth Circuit, have similarly determined that aiding and abetting

claims like plaintiffs’ are not viable in light of the DeVries holding.” Spaude v. Mysyk, 2017 WL

9485666, at *13–14 (N.D. Ohio July 14, 2017) (citing Grubbs v. Sheakley Grp., Inc., 2014 WL

202041, at *7 (S.D. Ohio Jan. 17, 2014); Estate of Barney v. PNC Bank, Nat. Ass’n, 714 F.3d

920, 929 (6th Cir. 2013)); see also Antioch C. Litigation Trust v. Morgan, 2012 WL 6738676, at

*3 (“The Supreme Court of Ohio held … both that aiding and abetting (1) has never been

recognized as valid tort in Ohio; and (2) is not a valid tort under the circumstances presented in

DeVries”). Because SKAT’s aiding and abetting tortious conduct claims fail to state viable

claims under Ohio law upon which relief may be granted, they must be dismissed against all the

Ohio Defendants.


       II.     TEXAS DOES NOT EXPRESSLY RECOGNIZE A CAUSE OF ACTION
               FOR AIDING AND ABETTING.

       On June 8, 2018, SKAT filed six complaints in the U.S. District Court for the Southern

District of Texas against U.S. pension plan investors (Blackrain Pegasus LLC Solo 401K Plan,

Pegasus Fox 23 LLC Solo 401K Plan, Delgado Fox LLC Solo 401K Plan, Gyos 23 LLC Solo


                                                 3
        Case 1:18-md-02865-LAK               Document 70          Filed 01/31/19        Page 4 of 6




401K Plan, The Joanne E. Bradley Solo 401K Plan, and The Oak Tree One 401K Plan) and the

plans’ Authorized Representative, Doston Bradley (the “Texas Complaints” when referring to

the complaints, and the “Texas Defendants” when referring to the Defendants).4 The Texas

Complaints are also identical in their allegations and nearly identical in their purported facts to

the complaints filed in the U.S. District Court or the Southern District of New York. The Texas

Complaints, likewise, each asserted a cause of action of aiding and abetting fraud against each of

the Texas Defendants.5 On August 30, 2018, the Texas Defendants moved to dismiss the Texas

Complaints on various grounds, including SKAT’s failure to plead a plausible claim of aiding

and abetting upon which relief may be granted.6


        In response to the Court’s Order to Show Cause, the Texas Defendants maintain that for

the following reasons the cause of action for aiding and abetting fraud should be dismissed

against all the Texas Defendants. The Texas Supreme Court “has not expressly decided whether

Texas recognizes a cause of action for aiding and abetting.” In re DePuy Orthopaedics, Inc.,

Pinnacle Hip Implant Prod. Liab. Litig., 888 F.3d 753, 781 (5th Cir. 2018) (citing First United

Pentecostal Church of Beaumont v. Parker, 514 S.W.3d 214, 224 (Tex. 2017) (citing Juhl v.

Airington, 936 S.W.2d 640, 643 (Tex. 1996))). In In re DePuy Orthopaedics, Inc., the Fifth

Circuit Court of Appeals held that the district court “sitting in diversity” exceeded its “bounds of

its legitimacy in fashioning novel causes of action not yet recognized by the state courts” when it

recognized the tort of aiding and abetting fraud. Id. Consequently, the Fifth Circuit held that a

defendant was entitled to judgment as a matter of law on the “plaintiffs’ aiding-and-abetting



4
  The Texas Complaints, as originally filed, are attached as Exhibits 5 through 10 to the Declaration of Mark D.
Allison.
5
  See Texas Complaints at ¶¶ 57-63.
6
  See Consolidated Defendants’ Motion To Dismiss the Complaints, SKAT v. Blackrain Pegasus LLC Solo 401K Plan,
et. al., Dk. No. 4:18-cv-01889 (S.D. Tex.) [ECF Dk.# 38].


                                                       4
       Case 1:18-md-02865-LAK           Document 70       Filed 01/31/19      Page 5 of 6




claim because no such claim exists in Texas.” Id. SKAT’s aiding and abetting claim against the

Texas Defendants fails on the same grounds.


                                        CONCLUSION


For the foregoing reasons, the claims of aiding and abetting fraud should be dismissed against all

the Ohio and Texas Defendants.


Dated: New York, New York

       January 31, 2019

                                                     s/ Mark D. Allison
                                                    Mark D. Allison
                                                    Zhanna A. Ziering
                                                    CAPLIN & DRYSDALE, CHARTERED
                                                    600 Lexington Ave., 21st Floor
                                                    New York, NY 10022
                                                    Tel: (212) 379-6000
                                                    mallison@capdale.com
                                                    zziering@capdale.com

                                                    Attorneys for Defendants
                                                    The Bella Consultants Pension Plan
                                                    The Sinclair Pension Plan
                                                    The Mueller Investments Pension Plan
                                                    The Green Group Site Pension Plan
                                                    Roger Lehman
                                                    Blackrain Pegasus LLC Solo 401K Plan
                                                    Pegasus Fox 23 LLC Solo 401K Plan
                                                    Delgado Fox LLC Solo 401K Plan
                                                    Gyos 23 LLC Solo 401K Plan
                                                    The Joanne E. Bradley Solo 401K Plan
                                                    The Oak Tree One 401K Plan
                                                    Doston Bradley




                                                5
      Case 1:18-md-02865-LAK          Document 70         Filed 01/31/19     Page 6 of 6




                               CERTIFICATE OF SERVICE

      I hereby certify that on January 31, 2019, true and correct copies of the Response to the

Order to Show Cause were served by CM/ECF or as indicated below on the following:

Sarah L. Cave
Marc A. Weinstein
William R. Maguire
John T. McGoey
HUGHES HUBBARD & REED LLP
One Battery Park Plaza
New York, New York 10004-1482
Telephone: (212) 837-6000
Fax: (212) 422-4726
sarah.cave@hugheshubbard.com
marc.weinstein@hugheshubbard.com
bill.maquire@hugheshubbard.com
john.mcgoey@hugheshubbard.com
Attorneys for Plaintiff SKAT


                                     s/ Mark D. Allison

                                     Mark D. Allison
                                     CAPLIN & DRYSDALE, CHARTERED
                                     600 Lexington Ave., 21st Floor
                                     New York, NY 10022
                                     (212) 379-6000
                                     mallison@capdale.com




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